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                  LAW OFFICE OF ALEX GROSSHTERN
                                 225 Broadway, Suite 3010
                                New York, New York 10007
                                    Tel (212) 233-1300
                                                                     Facsimile (212) 233-1333
                                                                     email: AGLaw1@cs.com
                                       _________


          ALEXANDER ARGUEDAS PRESENTENCE MEMORANDUM


UNITED STATES OF AMERICA )               Docket No.: 20-CR-135 (JMF)
                                 )
vs.                              )
                                 )
                                 )       Sentence Date:     May 24, 2022
ALEXANDER ARGUEDAS               )
________________________________________________________________________
Prepared for:     The Honorable Jesse M. Furman
                  United States District Judge
                  for the Southern District of New York

Prepared by:          Defense Counsel
                      Alex Grosshtern
                      Michael Fineman

Copies to:            Assistant United States Attorney Andrew Ken-Wei Chan
                      United States Attorney’s Office
                      for the Southern District of New York


       Counsel for the defendant Alexander Arguedas submit this Sentencing

Memorandum that respectfully requests that this Honorable Court sentence Alexander

Arguedas with compassion and leniency. On February 8, 2022 Alexander Arguedas

pleaded guilty to counts One, Nine and Ten of the fifth superceding indictment in this

matter. Count One: Racketeering Conspiracy under 18 U.S.C. § 1962(d); Count Nine:

Conspiracy to Distribute and Possess with Intent to Distribute Controlled Substances

under 21 U.S.C. § 846 and § 841(b)(1)(A), (b)(1)(C), and (b)(1)(D); and Count Ten:

Using and Carrying Firearms in Furtherance of Drug Trafficking under 18 U.S.C. §
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924(c)(1)(A)(i) and 2. Count One, 18 U.S.C. § 1962(d), carries no mandatory minimum.

Count Nine, 21 U.S.C. § 846 and § 841(b)(1)(A) carries a mandatory minimum term of

ten years of imprisonment. Count Ten, 18 U.S.C. § 924(c)(1)(A)(i) carries a mandatory

five year minimum term of imprisonment. Combined, the mandatory minimum term of

imprisonment is fifteen years. Under the United States Sentencing Guidelines

(hereinafter “the Guidelines”) the total offense level is 40 after all adjustments.

Combined with defendant’s Criminal History Category of VI, the minimum term of

imprisonment under the Guidelines is 360 months and a maximum term of life

incarceration. The Court is of course not bound by these guidelines as the federal

guidelines are not mandatory and merely advisory. The Court may consider other factors

enumerated in 18 U.S.C. § 3553 in its departure from the guidelines exercising traditional

sentencing discretion and may impose a sentence requiring any amount of incarceration

subject to the statutory mandatory minimum. Therefore, in the instant matter, the only

legal constraint on this Court is the fifteen year mandatory minimum term of

imprisonment prescribed by 21 U.S.C. § 846 and § 841(b)(1)(A) in conjunction with 18

U.S.C. § 924(c)(1)(A)(i).

       As the Court is aware, Alexander Arguedas, along with other co-conspirators, was

arrested in the instant matter on March 17, 2020, the week when the New York region

including state and federal government facilities went into Covid 19 Pandemic lock-

down. Mr. Arguedas has remained incarcerated at the Federal Bureau of Prisons

Metropolitan Detention Center in Brooklyn pending the prosecution of this matter for the

entirety of the pandemic. During this incarceration period of over two years, as the Court

is aware, conditions at the MDC Brooklyn have been significantly harsher and more




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restrictive than under regular circumstances. In addition to heightened exposure to the

virus in this setting, most daily activities had been curtailed including visitation by family

and even attorney visitation among other things. The Court should be aware that during

this time, as set forth in the Presentence Investigation Report section on Adjustment to

Incarceration, the defendant did not incur any disciplinary sanctions and completed at

least five education courses since he was detained.

       As part of this submission, we are including exhibits 1 and 2 that are not for

public disclosure as they contain medical record evaluations and summaries. Exhibit 1 is

a mitigation report that includes a review of historical psychiatric medical evaluations.

Exhibit 2 is a summary of medical records that the mitigation report relies upon. These

exhibits are submitted to the Court directly by email as per this Court’s individual rules

and will be directly shared by email with the Government. We ask that the Court review

these items prepared by a mitigation specialist as a window into the conditions of Mr.

Arguedas’s upbringing.

       The particulars of the defendant’s youth are not being offered as an excuse for his

conduct, but to inform the Court of the circumstances of the defendant’s exposure to

extreme violence and cruelty during his formative years offer valuable insight. Briefly

addressing the contents of the mitigation report that we urge the Court to review in its

entirety, Mr. Arguedas grew up in a household with a biological father that was

extremely physically and emotionally abusive towards the defendant and his mother. The

father would use belts, electrical cords and wire coat hangers to beat Mr. Arguedas and

his mother including strangulation of his mother in the defendant’s presence. The

biological father was incarcerated for narcotics distribution and deported when Mr.




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Arguedas was only five or six years old. As early as pre-school, young Alexander was

acting out and medications were prescribed at a very early age as the evaluative summary

reveals. As a child the defendant lived with the mother on 138th Street in Manhattan

where he was exposed to drug activity and observation of a fatal stabbing and a fatal

shooting at the approximate age of nine. At the age of twelve, defendant’s best friend

was murdered in gang related activity. At the age of thirteen the family moved to the

Bronx where the defendant was exposed to marijuana, drinking alcohol and evolved into

harder drugs. This was also the origin of his affiliation with a gang that he saw as “his

true family.” From then on Mr. Arguedas had seen numerous incidents of stabbings,

shootings and lost multiple friends to gang violence. This gang activity has led the

defendant to State incarceration and ultimately the instant matter.

       Mr. Arguedas has two children with wife Lianna Diaz Arguedas who remains

very close to his mother Alexandra and other of his family members who assist in taking

care of the children. Ms. Diaz, along with many other family members and

acquaintances are aware of Mr. Arguedas’s current circumstances yet remain highly

supportive and have written letters to the Court on Mr. Arguedas’s behalf setting forth his

positive characteristics. Please excuse that some of these letters are addressed to Judge

Jed Rakoff as the understanding was that Judge Rakoff would be the sentencing judge

since he approved the plea. Attached is a letter from Alexandra Arguedas, defendant’s

mother (exhibit 3), a letter from Lianna Diaz Arguedas, wife and childrens’ mother

(exhibit 4), a letter from Annamarie Cordero, half-sister (exhibit 5), a letter from Joshua

Cordero, half-brother (exhibit 6), a letter from Doris Kopp, paternal aunt (exhibit 7), a

letter from Mayssi Rodrigues, friend (exhibit 8), a letter from Rogelio Medrano, friend




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(exhibit 9), a letter from Star Perez, friend (exhibit 10), a letter from Melanie Figueroa,

friend (exhibit 11), a letter from Angel Figueroa, paternal uncle in law (exhibit 12), and a

letter from Evelyn Torres, friend (exhibit 13).

          In addressing the Governments concern regarding the need for a Fatico hearing,

while it is true that the defense objected to the inclusion of paragraphs 32 – 40 in the

Presentence Investigation Report (“PSR”), we are not contesting the facts therein. The

objection was to the inclusion of these paragraphs in the PSR as these facts do not

influence the Guidelines range and/or defendant’s criminal history category and are

therefore not relevant to the PSR. We recognize that the Court has broad discretion in

taking into consideration any and all facts in fashioning an appropriate sentence.

          In fashioning an appropriate sentence, courts generally seek to avoid disparities in

sentencing among defendants that are similarly situated. In the instant matter,

codefendant Michael Delaguila has been sentenced to 144 months by Your Honor on

October 14, 2021. This has been the lengthiest sentence the Court has imposed in this

matter.

          Codefendant Michael Delaguila, similarly to Alexander Arguedas, was described

by the Government in their theory of the case and in their sentencing submission for Mr.

Delaguila, as a “Godfather” of the Black Stone Guerrilla Gang (“BSGG”). In the

Government’s sentencing submission for codefendant Delaguila, the Government

described Delaguila and his role as “one of the Godfathers of BSGG, the defendant was

responsible for bringing new members into BSGG, disciplining disfavored members of

BSGG, and ordering and approving shootings, slashings, and assaults of rival gang

members.” (Government’s Sentencing Submission, Michael Delaguila, Page 1)




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       As part of the plea agreement, Mr. Arguedas accepted responsibility for the

murder of Gary Rodriguez. Upon review of the discovery materials related to the Gary

Rodriguez murder, the New York City Police Department initially suspected that the

perpetrator was Felix Delaguila, the brother of codefendant Michael Delaguila. As part

of the investigation the case detectives reviewed video surveillance footage depicting

what appeared to be three Hispanic males involved in the commission of this crime.

Later in the investigation, the NYPD ruled out Felix Delaguila as a suspect and issued

wanted cards for co-defendant Michael Delaguila and Alexander Arguedas as a suspects.

This information is documented in the NYPD Complaint Report Follow-up forms

(“DD5s”) numbered numbered 60 and 61 both generated and dated December 14, 2012.

       We anticipate that the Government will assert that Mr. Arguedas is not similarly

situated to codefendant Delaguila because he was not required to, and in fact did not,

accept responsibility for the Gary Rodriguez murder. However, codefendant Delaguila

and Mr. Arguedas maintained the same rank within the organization and Mr. Delaguila

was clearly implicated as a perpetrator in the Gary Rodriguez homicide.

       Furthermore, we anticipate that the Government will reference certain materials

which were seized from Mr. Arguedas’s electronic accounts and mobile telephones in

their sentencing submission including videos which depict violent acts. Similarly, a

review of the discovery of codefendant Delaguila’s electronic media accounts includes

content of the same nature depicting acts of graphic violence.

       We do recognize a distinction between codefendant Delaguila and Mr. Arguedas

in that there is a difference in criminal history category. This distinction is accounted for

in the Guidelines calculation.




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       At this time the defense pleads for the Court’s compassion and leniency in

exercising the Court’s discretion by imposing the minimum sentence permissible by law.




                                            Respectfully submitted,

                                            Alex Grosshtern, Esq.
                                            Michael Fineman, Esq.
                                            Attorneys for
                                            Alexander Arguedas
                                            225 Broadway
                                            Suite 3010
                                            New York, New York 10007


                                            by:


                                            ________________________________
                                            Alex Grosshtern, Esq.




Dated: New York, New York
       May 10, 2022




by ECF




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